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            IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

BERNETTA LASHAY WILLIS,                    )
                                           )
      Petitioner,                          )
                                           )
      v.                                   )   Civil Action No.
                                           )   2:19cv651-MHT
UNITED STATES OF AMERICA,                  )
                                           )
      Respondent.                          )

                                       ORDER

      The Clerk is DIRECTED to:

      (1) STRIKE Petitioner’s Motion for Emergency Compassionate Release,

currently docketed as Doc. # 25; and

      (2) DOCKET this same motion in Criminal Case 2:06cr71-MHT.

      Done this 21st day of April, 2020.



                           /s/ Charles S. Coody
                         CHARLES S. COODY
                         UNITED STATES MAGISTRATE JUDGE
